              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                                     CASE NO.

 SPINOSO REAL ESTATE GROUP,
 DLS, LLC, solely in the capacity as
 court appointed receiver pursuant to
 that certain Consent Judgment and
 Stipulated Order for Appointment of
 Receiver entered May 21, 2021 in the
 General Court of Justice, Superior
 Court Division County of Mecklenburg,
 State of North Carolina, successor-in-
 interest to TM Northlake Mall, LP,

                Plaintiff,

 v.

 AE OUTFITTERS RETAIL CO.
 and AMERICAN EAGLE
 OUTFITTERS, INC.,

                 Defendants.


   DISCLOSURE BY NON-GOVERNMENTAL CORPORATE PARTY OR
            PROPOSED INTERVENOR OF CORPORATE
  AFFILIATIONS AND OTHER ENTITIES WITH A DIRECT FINANCIAL
                   INTEREST IN LITIGATION

This disclosure must be filed on behalf of each nongovernmental corporate entity
that is a party or proposed intervenor to the action. Counsel has a continuing duty
to update this information. An executed form should be electronically filed. The
disclosing party must serve this form on the other parties to this action.


AE OUTFITTERS RETAIL CO. who is Defendant makes the following disclosure:

1. Is the party a publicly held corporation or other publicly-held
   entity?

                   Yes           X No



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2. Does the party have any parent corporations?
            X Yes                  No



     If yes, identify all parent corporations, including grandparent and great-
         grandparent corporations:
     American Eagle Outfitters, Inc.; AE Holdings Co.; AE Corporate Services Co.;
     AEO Management Co.

3. Is 10% or more of the stock of a party owned by a publicly-held corporation or
   other publicly-held entity?
                Yes                  X No

     If yes, identify all such owners:

4. Is there any other publicly-held corporation or other publicly-held entity that
   has a direct financial interest in the outcome of the litigation?
             X Yes                      No

     If yes, identify the entity and the nature of its interest: American Eagle Outfitters, Inc.
                                                                 (named as a defendant)

5.   Is the party a trade association?
                 Yes                 X No

     If yes, identify all members of the association, their parent corporations, and any
         publicly held companies that own 10% or more of a member’s stock:


6.   If the case arises out of a bankruptcy proceeding, identify any trustee and
     the members of any creditors’ committee: N/A



                                                        September 5, 2023
     s/ William R. Terpening
     Signature of Attorney                               Date




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